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Attorneys for Defendant/Cross-Claim Plaintiff

                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY

SAM HARGROVE, ANDRE HALL, and
MARCO EUSEBIO, individually and on Civil Action No. 10-01138-PGS-
behalf of all others similarly situated,        LHG

                  Plaintiffs,

vs.
                                                (HONORABLE PETER G.
SLEEPY’S, LLC,                                       SHERIDAN)
                  Defendant.
                                                   FILED VIA ECF

SLEEPY’S, LLC,

                  Cross-Claim Plaintiff,
                                            Returnable: September 19, 2011
vs.

I STEALTH, LLC, EUSEBIO’S
TRUCKING CORP., and CURVA
TRUCKING, LLC,

                  Cross-Claim
                  Defendants.

      NOTICE OF DEFENDANT/CROSS-CLAIM PLAINTIFF SLEEPY’S,
             LLC’S MOTION FOR SUMMARY JUDGMENT
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TO: ANTHONY L. MARCHETTI
    Marchetti Law, P.C.
    900 N. Kings Highway, Suite 306
    Cherry Hill, NJ 08034

      Attorney for Plaintiffs Sam Hargrove, Andre Hall, and Marco Eusebio

      PLEASE TAKE NOTICE THAT the undersigned attorneys for

Defendant/Cross-Claim Plaintiff Sleepy’s, LLC (“Sleepy’s”) will move before the

United States District Court for the District of New Jersey, Clarkson S. Fisher

Building & U.S. Courthouse, 402 East State Street, Trenton, New Jersey, before

the Honorable Peter G. Sheridan on September 19, 2011 at 9:00 a.m., or as soon

thereafter as counsel may be heard, for an Order, pursuant to Rule 56 of the

Federal Rules of Civil Procedure and Rule 56.1 of the Local Civil Rules for the

District of New Jersey, entering summary judgment in Sleepy’s favor on all counts

of Plaintiffs Sam Hargrove, Andre Hall, and Marco Eusebio’s Complaint.

      PLEASE TAKE FURTHER NOTICE that, in support of the Motion

herein, the undersigned attorneys for Sleepy’s will rely on the Brief in Support of

its Motion for Summary Judgment and its Statement of Undisputed Material Facts

and attached Exhibits, pursuant to L. Civ. R. 56.1.

      A proposed Order is enclosed.




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                                         Respectfully submitted,



                                         s/ Elizabeth Tempio Clement
                                         Matthew J. Hank
                                         Kimberly J. Gost
                                         Theo E.M. Gould
                                         Elizabeth Tempio Clement
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                                         Attorneys for Defendant/Cross-Claim
                                         Plaintiff Sleepy’s, LLC
August 16, 2011




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